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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

DANIEL S. NEWMAN, as a Receiver for Founding
Partners Capital Management Company; Founding
Partners Stable-Value Fund, L.P.; Founding
Partners Stable-Value Fund, II, L.P.; Founding
Partners Global Fund, Ltd., and Founding Partners
Hybrid-Value Fund, L.P.,

                              Plaintiff,

-vs-                                                           Case No. 2:09-cv-445-FtM-29SPC

SUN CAPITAL, INC. a Florida corporation; SUN
CAPITAL HEALTHCARE, INC., a Florida
corporation; HLP PROPERTIES OF PORT
ARTHUR, LLC, a Texas limited liability company,

                        Defendants.
______________________________________


                                             ORDER

       This matter comes before the Court on the Receiver, Daniel S. Newman’s Emergency Motion

to Compel the Production of Documents from Defendants and Affiliates (Doc. #90) filed on

November 25, 2009. The Defendants filed their Response in Opposition (Doc. # 96) on December

4, 2009. The District Court referred the Motion to this Court on December 4, 2009. On January 13,

2009, the Receiver, with leave of the Court, filed his Reply Brief (Doc. # 117). The Motion is now

ripe for review.

       The Receiver moves the Court to compel the Defendants to produce financial documents

related to Sun Capitol’s investments with Founding Partners funds. Specifically, the Receiver seeks:

       (1) the Sun Entities' monthly financial reports through the Present, for each of SCHI and SCI

(until two days ago, the latest reports produced were through July 2009);
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       (2) Promise's and Success's monthly financial reports through the Present, for each hospital

owned by Promise and Success (the latest reports produced are through June 2009) and;

        (3) the Sun Entities, Promise's and Success's monthly reports of cash flow, actual and

projected from January 1, 2009 through the present (none have been produced).

       (4) the Sun Entities (and, if applicable, Promise and Success) to produce all responsive, non-

privileged documents that have been selectively withheld by them based on an artificial March 2009

cut-off date (or otherwise log and account for their non-production).

       (5) the Sun Entities to provide formal responses to the Receiver's Second Set of

Document Requests directed at SCHI and SCI.

       (6) Promise and Success to provide fomal responses to the Receiver's subpoenas

directed at them.

       (7) the Sun Entities (and if applicable, Promise and Success) to explain what has been

withheld from review and production on the "back up tapes" and why production from the back

up tapes would involve an "extraordinary" amount of effort.

       The Receiver states the financial reports are in existence, can be easily located and produced

by the Sun Entities, Promise, and Success, and are critically relevant to the issues in the pending

Motion for Preliminary Injunction. However, while the Receiver does lay out the categories of

discovery requested, the Receiver does not indicate to the Court what documents and financial

statements have been produced in compliance with the propounded requests for production, nor does

the Receiver tell the Court what the Defendants objections to the discovery are and why those

objections should be overruled.

       Under the Local Rules:


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                      [a] motion to compel discovery pursuant to Rule 36 or Rule 37, Fed.
                      R. Civ. P., shall include quotation in full of each interrogatory,
                      question on deposition, request for production to which the motion is
                      addressed; each of which shall be followed immediately by quotation
                      in full of the objection and grounds therefor as stated by the opposing
                      party; or the answer or response which is asserted to be insufficient,
                      immediately followed by a statement of the reason the motion should
                      be granted.


M.D. Fla. Local Rule 3.04(a). The Plaintiff’s did not comply with the Local Rules, and as such his

Motion is due to be denied.

       Accordingly, it is now

       ORDERED:

       The Receiver, Daniel S. Newman’s Emergency Motion to Compel the Production of

Documents from Defendants and Affiliates (Doc. #90 ) is DENIED.

       DONE AND ORDERED at Fort Myers, Florida, this              16th     day of January, 2010.




Copies: All Parties of Record




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